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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
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13   UNITED STATES OF AMERICA,                      ) NO. CR 11-0097 CRB
                                                    )
14           Plaintiff,                             )
                                                    ) [PROPOSED] ORDER DENYING MOTION TO
15      v.                                          ) REDUCE SENTENCE
                                                    )
16   CUONG MACH BINH TIEU,                          )
                                                    )
17           Defendant.                             )
                                                    )
18

19           Defendant Cuong Mach Binh Tieu has filed a motion to reduce his sentence under 18 U.S.C.
20 § 3582(c)(2) and § 1B1.10 of the United States Sentencing Guidelines based on Amendment 782. See

21 Dkt. 785.

22           The Court has received a Sentence Reduction Investigation Report from the United States
23 Probation Office stating that the defendant is not eligible for a reduction in sentence under Amendment

24 782 because the defendant already received a substantial downward variance such that even if he

25 received the two level reduction in his Offense Level contemplated by Amendment 782, his actual

26 sentence would still be 15 months lower than the low end of the adjusted Guideline range. See Dkt. 802.

27 The Sentence Reduction Investigation Report states that the government agrees with this conclusion.

28 See id.

     ORDER DENYING SECTION 3582 MOTION
     NO. CR 98-00133 CRB
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 1         For the reasons set forth in the Sentencing Reduction Investigation Report, the Court finds that

 2 the defendant is not eligible for a reduction pursuant to Amendment 782 and § 1B1.10(b)(2)(A).

 3         Accordingly, the defendant’s motion is denied. The Clerk shall serve a copy of this Order on the

 4 defendant.

 5         IT IS SO ORDERED.

 6 Dated: August __,
                 8 2017

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 8                                                      ______________________________________
                                                        HON. CHARLES R. BREYER
 9                                                      United States District Judge
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     ORDER DENYING SECTION 3582 MOTION
     NO. CR 98-00133 CRB
